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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                 Plaintiff,
     vs.                                 Case No. 00-40104-01/02-RDR

WILLIAM LEONARD PICKARD
and CLYDE APPERSON,

                 Defendants.


                                 O R D E R

     This matter is presently before the court upon defendants’

motion for ruling or order showing cause.                   Having carefully

reviewed the motion, the court is now prepared to rule.

     The defendants were convicted of conspiracy to manufacture

lysergic acid diethylamide (LSD) in violation of 21 U.S.C. §§ 841

(a)(1), (b)(1)(A), and 846, and one count of possession with intent

to distribute LSD in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(A).   Apperson was sentenced to thirty years’ imprisonment,

and Pickard received a life sentence.                See United States v.

Pickard,   298   F.Supp.2d    1140   (D.Kan.    2003);     United    States   v.

Apperson, 298 F.Supp.2d 1149 (D.Kan. 2003).              The convictions and

sentences were affirmed by the Tenth Circuit.               United States v.

Apperson, 441 F.3d 1162 (10th Cir. 2006), cert. denied, 549 U.S.

1117 (2007) and 549 U.S. 1150 (2007).           The defendants then filed

motions to vacate, set aside or correct sentence pursuant to 28

U.S.C. § 2255.   These motions were denied on April 6, 2009.              United
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States v. Pickard, 2009 WL 939050 (D.Kan. 2009).                 The defendants

then filed notices of appeal.         On July 2, 2009, this court denied

defendants’ motions for certificates of appealability. While their

appeals were pending, the defendants filed some additional motions,

including several motions under Fed.R.Civ.P. 60(b).                   Given the

pendency of the appeals, the court declined to consider any of

these matters.        On October 5, 2010, the Tenth Circuit denied

defendants’ certificate of appealability on their § 2255 motions

and dismissed their appeals.          United States v. Pickard, 2010 WL

3862877 (10th Cir. 2010).         The court then considered the pending

motions and denied part of them and transferred part of them to the

Tenth Circuit pursuant to 28 U.S.C. § 2244(b)(3) on January 24,

2011. Following this ruling, the defendants filed two more motions

on March 24, 2011:          (1) motion for relief under Fed.R.Civ.P.

60(b)(1) [Doc. # 656]; and (2) motion to unseal document [Doc. #

657].     The defendants then filed notices of appeal on March 25,

2011.

        In the instant motion, the defendants request that the court

rule on the motion to unseal document or show cause why it has not

done so.     The court must again decline to rule on the motion due to

the pendency of the appeals.        In earlier proceedings in this case,

the Tenth Circuit informed the defendants that the filing of an

appeal generally divests the district court of jurisdiction to

decide    pending    motions.      See   United   States    v.    Pickard,     396


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Fed.Appx. 568, 571 (10th Cir. 2010).        The court believes that the

pendency of the appeals precludes the court from ruling on the

motion to unseal.

     IT IS THEREFORE ORDERED that defendants’ motion for ruling or

order showing cause (Doc. # 682) be hereby denied.

     IT IS SO ORDERED.

     Dated this 7th day of September, 2011 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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